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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             )
                                                      )
                     Plaintiff,                       )
                                                      )
                                                            No. 1:21-cr-670-CJN
v.                                                    )
                                                      )
STEPHEN K. BANNON,                                    )
                                                      )
                      Defendant.                      )
                                                      )

     MOTION TO REIMPOSE BAIL PENDING APPEAL OR IMPOSE A PERIOD OF
                         SUPERVISED RELEASE

          Stephen K. Bannon respectfully submits this motion to reimpose bail pending appeal, or

alternatively to impose a period of supervised release, given developments since this Court’s last

ruling.

          The Court is familiar with this case and its procedural history, so Mr. Bannon elides a

lengthy recitation. At sentencing, the Court granted bail pending appeal to Mr. Bannon but later

granted the government’s motion to reconsider that decision on June 6, 2024, after the D.C.

Circuit’s May 10 panel opinion rejected Mr. Bannon’s arguments on direct appeal.

          As explained below, significant events subsequent to this Court’s June 6 decision warrant

reimposing the Court’s original grant of bail.

                                              STANDARD

          “[E]very order short of a final decree is subject to reopening at the discretion of the district

judge.” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 12 (1983). And that is

especially true for “bond determinations, [which] remain with the district court even during the




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pendency of the appeal.” United States v. Mikell, 2010 WL 148673, at *5 (E.D. Mich. Jan. 12,

2010).

         To quote a case heavily relied upon in the government’s own motion to rescind bail (see

ECF 196 at 2): “As circumstances may change, the district court is best equipped to respond to

such changes” in the bail context. United States v. Krzyske, 857 F.2d 1089, 1091 (6th Cir. 1988).

Indeed, the government previously insisted that this Court “‘retains jurisdiction over the person of

the defendant at least for the limited purposes of reviewing, altering or amending the conditions

under which that court released the defendant.’” ECF No. 196 at 2 (quoting United States v. Black,

543 F.2d 35, 37 (7th Cir. 1976)).

         Accordingly, “‘[i]n view of the fact that, during the pendency of an appeal, facts may come

to light which render it advisable for the district court to alter the conditions” of bail, the District

Court retains authority to adjust or entirely rescind its prior decision on bail, as this Court has done

once already. Id.1

I.       The Court Should Reimpose Bail Pending Appeal.

         At the June 6, 2024, hearing on the government’s motion to revoke bail pending appeal,

this Court relied on the fact that the D.C. Circuit’s May 10 panel opinion had not only rejected Mr.

Bannon’s arguments about the mens rea requirement for 2 U.S.C. 192, but also seemed to endorse




1 The government may claim that the law-of-the-case doctrine warrants denial of this motion, but

it is well recognized that “disposition of the bail issue will not be the law of the case” because of
the frequently changing facts relevant to bail determinations. United States v. Stemm, 835 F.2d
732, 734 (10th Cir. 1987); see Wright & Miller, 18B Fed. Prac. & Proc. Juris. § 4478.5 (3d ed.)
(“[L]aw of the case is not established by … refusal to admit [the defendant] to bail pending
appeal.”). In any event, the D.C. Circuit has recognized that law-of-the-case does not apply when
“the relevant facts have somehow changed,” which is precisely what Mr. Bannon argues here.
Kimberlin v. Quinlan, 199 F.3d 496, 501 (D.C. Cir. 1999).


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the correctness of Licavoli. This bore on the question of whether there still existed a substantial

legal issue on appeal for purposes of bail.

          For example, this Court said, “Well, the one thing we know is that no one wrote separately

to say, Hey, I’m bound by Licavoli, but I’m not so sure about it.” Tr.18:14-16. And the Court later

stated, “[N]o one wrote separately to say something like, I am bound by Licavoli, but I have

concerns about it.” Tr.30:14-15. And in announcing its decision, the Court referenced the fact that

it was tying Mr. Bannon’s surrender date to “a week after the en banc petition is due,” Tr.32:23-

24, perhaps to allow Mr. Bannon the benefit of the D.C. Circuit’s consideration of that petition.

          Several events since this Court’s June 6, 2024, ruling warrant reimposing bail pending

appeal, so Mr. Bannon is not forced to serve his entire sentence before the en banc D.C. Circuit or

Supreme Court—i.e., the only courts with authority to overrule Licavoli—can hear his case on the

merits.

          A.     Judge Walker Found That the Mens Rea Issue Presents a Close Question.

          A member of the May 10 D.C. Circuit panel decision—Judge Walker—has now written

separately and articulated that he indeed does have concerns with Licavoli and that he had joined

the panel opinion, at least in part, simply because he concluded Licavoli was binding, not because

he thought it was correct or that the Supreme Court would agree with it.

          Judge Walker’s June 20, 2024, dissent from the denial of release pending appeal stated that

“the panel felt obliged to disregard the Supreme Court’s ‘general rule’ [regarding the meaning of

‘willfully’ in criminal statutes] because Licavoli remained binding in this Circuit.” United States

v. Bannon, 2024 WL 3082040, at *2 (D.C. Cir. June 20, 2024) (Walker, J., dissenting). “For a

court unbound by Licavoli, like the Supreme Court, the proper interpretation of ‘willfully’ in




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Section 192 is ‘a close question or one that very well could be decided the other way.’” Id. at *3

(Walker, J., dissenting).

       Judge Walker’s dissent concluded: “Because the Supreme Court is not bound by Licavoli,

because Licavoli’s interpretation of ‘willfully’ is a close question, and because that question may

well be material, Bannon should not go to prison before the Supreme Court considers his

forthcoming petition for certiorari.” Id. (Walker, J., dissenting).

       That is exactly the type of statement this Court referenced at the June 6 hearing. See

Tr.18:14-16, Tr.30:14-15. A member of the original panel has now raised questions about Licavoli.

       This demonstrates the issue is at least substantial, especially given that the points raised in

Judge Walker’s dissents have a habit of turning into majority opinions. See, e.g., Loper Bright

Enterprises, Inc. v. Raimondo, 45 F.4th 359, 372 (D.C. Cir. 2022) (Walker., J., dissenting), vacated

and remanded, 144 S. Ct. 2244 (2024); Am. Lung Ass’n v. EPA, 985 F.3d 914, 995 (D.C. Cir.

2021) (Walker, J., concurring in part and dissenting in part), rev’d and remanded sub nom. W.

Virginia v. EPA, 597 U.S. 697 (2022).

       B.      A Grant or Dissent from Denial of En Banc Is Very Likely at the D.C.
               Circuit.

       Another subsequent development confirms the substantiality of the mens rea issue. Mr.

Bannon filed his en banc petition on July 15, 2024 (the D.C. Circuit extended the due date), and

the D.C. Circuit promptly called for the government to submit a response on “the meaning of

‘willfully’ in 2 U.S.C. § 192 and whether we should revisit Licavoli v. United States, 294 F.2d 207

(D.C. Cir. 1961).” Order, United States v. Bannon, No. 22-3086 (D.C. Cir. July 22, 2024).




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       Calling for a response is rare—the D.C. Circuit has done so in only seven other cases (two

of which are related) during the entirety of 2024.2 This alone signals the substantiality of the mens

rea issue.

       But more importantly: the government filed its response to the petition on July 31, 2024,

and nearly a full month has now passed without any subsequent order from the D.C. Circuit. This

is consistent with two outcomes: either the D.C. Circuit will grant rehearing, or there will be a

denial accompanied by a written dissent.

       The statistics bear this out. The government’s response has been pending for 29 days now.

Looking at D.C. Circuit cases where the Court ordered a response to an en banc petition in the last

20 months, the longest it then took the Court to summarily deny en banc was 25 days (measured

from when the response was filed).3 The average such time for summary denial was a mere 16.3

days, and sometimes it was as short as 8 days.4 In other words, when the Court gets the en banc

response and is no longer interested in the case, the Court promptly issues a summary denial.

       By contrast, in the last three cases where the Court denied en banc over a separate written

opinion, it has taken a minimum of 35 days—with an average of 69.7 days—for the Court to issue




2 See United States v. Kerrick, No. 22-3014 (Aug. 6, 2024); Fed. Educ. Ass’n Stateside Region v.

FLRA, No. 22-1220 (July 15, 2024); Noble v. Nat’l Ass’n of Letter Carriers, No. 23-7012 (July 1,
2024); Nat’l Ass’n of Realtors v. United States, No. 23-5065 (May 21, 2024); J.G. Kern Enter.,
Inc. v. NLRB, No. 22-1287 (Apr. 16, 2024); End Citizens United PAC v. FEC, No. 22-5277 (Feb.
22, 2024); Campaign Legal Ctr. v. FEC, No. 22-5339 (Feb. 22, 2024).
3 See Nat’l Ass’n of Realtors v. United States, 23-5065.

4 See Noble v. Nat’l Ass’n of Letter Carriers, No. 23-7012 (23 days); J.G. Kern Enter., Inc. v.

NLRB, No. 22-1287 (8 days); United States v. Trump, No. 23-3190 (23 days); Valancourt Books,
LLC v. Garland, No. 21-5203 (15 days); Am. Elec. Power Serv. Corp. v. FERC, No. 22-1097 (21
days); Longmont United Hospital v. NLRB, No. 22-1262 (12 days); West Flagler Assocs., Ltd. v.
Haaland, No. 21-5265 (11 days); United States v. Douglas, No. 21-3032 (17 days); Khadr v.
United States, No. 21-1218 (10 days); Perez v. Kipp DC Supporting Corp., No. 22-7021 (16 days);
George v. Molson Coors Beverage Co., No. 22-7111 (14 days).


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the dissents (again, measured from when the response was filed).5 And in the last case in which

the D.C. Circuit granted an en banc petition, 136 days passed between the response and the order

announcing the grant.6

       Over a significant sample size, if the Court has not summarily denied the en banc petition

within 25 days of the response being filed, the odds of a grant or a separate opinion accompanying

a denial have been 100%.7 Mr. Bannon’s case has now surpassed that 25-day threshold—it is at

29 days and counting.

       Either a grant or a dissent from denial would necessarily demonstrate the mens rea issue

here is one on which reasonable minds could differ—i.e., it is “substantial.” United States v.

Perholtz, 836 F.2d 554, 555 (D.C. Cir. 1987). And such action would also necessarily be an

intervening and changed circumstance since this Court’s last decision on bail.

       Accordingly, these significant developments, which post-date the revocation of bail,

demonstrate that circumstances have changed and that bail should be reimposed.

                                              ***

       This Court need not wait to see whether the D.C Circuit grants en banc or issues dissents

from denial. As indicated at the June 6, 2024, hearing, the statutory inquiry is whether there is a

substantial question, and it is sufficient that a judge of the original panel has now expressed

concerns, and that the timing of the proceeding confirms the D.C. Circuit itself is now apparently

strongly considering granting en banc on the mens rea issue, or issuing dissents from denial.




5 See In re Search of Info. Stored at Twitter, Inc., No. 23-5044 (112 days); Guffey v. Mauskopf,

No. 20-5183 (35 days); Wash. Alliance of Tech. Workers v. DHS, No. 21-5028 (62 days).
6 See Al-Hela v. Biden, No. 19-5079.

7 Even if counsel has somehow overlooked a case during this time, the odds of a grant or dissent

from denial would still be nearly 95%.


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       On that score, one issue warrants additional discussion. The government previously

contended that because Mr. Bannon lost at the panel stage, he cannot now obtain bail unless he

shows it is “likely” that he obtains en banc or certiorari review. See, e.g., Tr.10:12-12:3. He meets

that threshold, but just as importantly, the government is proposing the wrong test.

       The bail statute expressly applies to cases where the movant has already lost at the circuit

court—e.g., where he has filed “a petition for writ of certiorari,” 18 U.S.C. § 3143(b)(1)—yet the

statute nowhere changes the test or requires an additional showing in such circumstances.

       Thus, there is only one test under § 3143, regardless of which phase the proceedings are

in, and it requires a “two-part inquiry.” Perholtz, 836 F.2d at 555. The Court first decides whether

“the appeal raise[s] a substantial question.” Id. The Court then separately looks at whether a new

trial or lessened sentence would “likely” result “if that question is resolved in appellants’ favor.”

Id. Accordingly, the Court assumes the issue is resolved in the defendant’s favor and asks whether

the defendant would likely then get a new trial or sentence.

       Contrary to the government’s position in this Court, the “phrase ‘likely to result in reversal

or an order for a new trial’ cannot reasonably be construed to require the … court to predict the

probability of reversal.” United States v. Miller, 753 F.2d 19, 23 (3d Cir. 1985). “The federal courts

are not to be put in the position of bookmakers who trade on the probability of ultimate outcome.

Instead, that language must be read as going to the significance of the substantial issue to the

ultimate disposition of the appeal.” Id.

       Accordingly, “all” circuit courts have “concluded that the statute does not require” a

showing that the lower court “committed reversible error.” Pollard, 778 F.2d at 1181–82.

       The Solicitor General has previously agreed that § 3143 doesn’t impose the same standard

as for a stay pending appeal: because “‘the statutory standard for determining whether a convicted




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defendant is entitled to be released pending a certiorari petition is clearly set out in 18 U.S.C.

3143(b),’ … the application should be evaluated using the standard prescribed in Section 3143(b),

rather than under the stay factors that the Court applies when Congress has not established the

governing criteria.” Memo. for the U.S. in Opposition 15, McDonnell v. United States, 15A218

(Aug. 26, 2015) (emphasis added).

       Thus, at most, the fact that Mr. Bannon lost at the panel stage goes to whether the mens rea

issue remains a substantial question (it does, as explained above), but unlike someone seeking a

stay pending appeal, Mr. Bannon need not independently show there is a likelihood of en banc or

certiorari review.8

       C.      The Government’s Subsequent Actions.

       An additional relevant and subsequent development is that the government has now

admitted it can identify only one criminal case ever where the Supreme Court has allegedly

interpreted “willfully” or “willfulness” in a specific criminal statute to mean only “intentional[ly]”

or “deliberately.” Opp.23, Bannon v. United States, No. 23A1129 (U.S. June 26, 2024) (citing

Browder v. United States, 312 U.S. 335, 341–42 (1941)).

       The contours of Browder’s mens rea holding are opaque, and it seems the Supreme Court

has not cited it for the proposition the government claims. In any event, the statutory mens rea in

Browder—“willfully and knowingly”—is one that the government itself has repeatedly said still



8 The government has previously cited McGee v. Alaska, 463 U.S. 1339 (1983) (Rehnquist, J., in

chambers), and Julian v. United States, 463 U.S. 1308 (1983) (Rehnquist, J., in chambers), as
looking to the probability the Supreme Court would grant review in the context of a bail motion,
see Resp.17, Navarro v. United States, No. 23A843 (U.S. Mar. 18, 2024). But those cases “arose
before the enactment of the Bail Reform Act,” thus they do “not set the standard for review under
the Bail Reform Act, and furthermore would require inappropriate speculation by this Court.”
United States v. Nacchio, 608 F. Supp. 2d 1237, 1240 n.6 (D. Colo. 2009). The Supreme Court
has not cited those cases even once since the Bail Reform Act was passed forty years ago.


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“requires knowledge of unlawfulness” in other contexts. Id. at 24 n.8 (citing government’s position

on a “knowingly and willfully” mens rea).

       The fact that the government has now finally admitted it struggles to find even one Supreme

Court case adopting its interpretation of “willfully” in a criminal statute is significant given that

well over a century of caselaw squarely supports Mr. Bannon’s position that “willfully” in the

criminal context requires knowledge of unlawfulness. See Bryan v. United States, 524 U.S. 184,

191–92 (1998); Ratzlaf v. United States, 510 U.S. 135, 137 (1994); Screws v. United States, 325

U.S. 91, 101 (1945); Felton v. United States, 96 U.S. 699, 702 (1877).

                                               ***

       For all these reasons, the Court should reimpose its order granting bail pending appeal, so

Mr. Bannon is not forced to serve his entire sentence before the en banc D.C. Circuit or Supreme

Court—i.e., the only courts with authority to overrule Licavoli—can hear his case on the merits.

II.    Alternatively, the Court Should Impose a Period of Supervised Release.

       If the Court does not reimpose bail pending appeal, the Court should alternatively impose

a period of supervised release pursuant to 18 U.S.C. § 3582(c)(1)(A). Under that provision, the

Court can reduce the overall sentence (even just a few days off each conviction will trigger the

provision) and then impose supervised release (our request would be a term of supervised release

of just a few days).

       Mr. Bannon has been informed by experts on the First Step Act’s implementation that

restructuring the sentence in this manner would allow him to have the opportunity to earn good

time credits under the First Step Act for successful participation in productive activities while

incarcerated—something that is available to most inmates, especially those serving sentences for

non-violent offenses. See, e.g., United States v. Oprea, 2023 WL 6958690 (D.N.H. Oct. 20, 2023)




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(reducing original sentence by a month and imposing a one-year term of supervised release so the

defendant could benefit from First Step Act time credits); United States v. Perez Sanchez, 2024

WL 1069884, at *5 (E.D.N.Y. Mar. 12, 2024).

        To be sure, Mr. Bannon must show extraordinary and compelling reasons for a

resentencing, 18 U.S.C. § 3582(c)(1)(A)(i), but courts have found that “modify[ing] [a] sentence

to include a [short] term of supervised release so that [the defendant] may benefit from a new BOP

earned-time credit rule promulgated pursuant to the First Step Act” will “constitute ‘extraordinary

and compelling’ circumstances warranting” relief, United States v. Nunez-Hernandez, 2023 WL

3166466, at *1 (D. Minn. Apr. 27, 2023); but cf. Order at 2, United States v. Navarro, No. 1:22-

cr-200, ECF No. 177 (May 20, 2024).

        Further, Mr. Bannon’s case presents compelling circumstances because of the subsequent

developments discussed above—namely the realistic prospect that the D.C. Circuit will grant en

banc or issue dissents from denial on the core issue in this case, either of which would demonstrate

this case raises substantial issues and that Mr. Bannon should not have to serve his entire sentence

before the en banc D.C. Circuit or Supreme Court can hear his case.

        Further, the Probation Office’s Sentencing Recommendation recognized that the Court

could impose supervised release for up to a year for Mr. Bannon. Although the Probation Office

made no recommendation regarding supervised release, that likely was a result of the Probation

Office’s recommendation that Mr. Bannon serve only the minimum term of imprisonment under

the statute (i.e., 30 days).

        Accordingly, if the Court does not reimpose bail pending appeal, Mr. Bannon respectfully

requests that the Court reduce his sentence (even a few days per conviction would suffice) and




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impose a period of supervised release (again, even a few days per conviction would suffice) so he

can be eligible to utilize First Step Act credits.

                                           CONCLUSION

        The Court should grant this motion and reimpose bail pending appeal, or alternatively

reduce Mr. Bannon’s sentence and impose a period of supervised release.

August 29, 2024

                                                By:       /s/ R. Trent McCotter

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, which will serve all registered attorneys in this case.

                                                 /s/ R. Trent McCotter
                                                R. Trent McCotter




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